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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

MARTIN J. WALSH 1, Secretary of Labor,                         )
United States Department of Labor,                             )
                                                               )
                                    Plaintiff,                 )
                                                               )
         v.                                                    )
                                                               )        Civil Action No. 20-cv-06638
RODNEY C. SCOTT, RCS & ASSOCIATES,                             )
LTD., and RCS & ASSOCIATES, LTD.                               )
401(k) PLAN,                                                   )
                                                               )
                                    Defendants.                )

                                CONSENT ORDER AND JUDGMENT

         Plaintiff Secretary of Labor, United States Department of Labor (“Secretary”), pursuant

to the provisions of the Employee Retirement Income Security Act of

1974 (“ERISA”), as amended, 29 U.S.C. § 1001, et seq., filed a complaint against Defendants

Rodney C. Scott (“Scott”) and RCS & Associates, Ltd. (“RCS”), alleging breaches of their

fiduciary responsibilities under ERISA §§ 104, 403, 404, 406 and 412, with respect to the RCS

& Associates, Ltd. 401(k) Plan (the “Plan”) 2.

         Defendants Scott, RCS, and the Plan waived service of process of the complaint and

admit to the jurisdiction of this Court over them and the subject matter of this action.

         On April 23, 2020, Defendants Scott and RCS restored $10,069.71 to the Plan. As of

March 31, 2021, Defendants Scott and RCS had restored an additional $4,466.78, which

represented the remaining delinquent and untimely employee contributions they withheld or that



1
  By operation of law, Martin J. Walsh, Secretary of Labor, is substituted for former Acting Secretary of Labor
Milton Al Stewart. FED. R. CIV. P. 25(d).
2
  The Plan is named as a defendant herein pursuant to Federal Rule of Civil Procedure 19(a) solely to assure that
complete relief can be granted.
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were due to Plan participants’ accounts during the period of January 5, 2017 through August 20,

2019 and lost opportunity costs thereon. Defendants Scott and RCS have provided the Secretary

with satisfactory proof of these restorations to the Plan.

        The Secretary, Scott, RCS, and the Plan have agreed to resolve all matters in controversy

in this action between them, and said parties do now consent to entry of a Consent Order and

Judgment by this Court in accordance therewith.

        Upon consideration of the record herein, and as agreed to by the parties, the Court finds

that it has jurisdiction to enter this Consent Order and Judgment.

        IT IS THEREFORE ORDERED, DECREED, and ADJUDGED that:

        1.      Defendants Scott and RCS are permanently enjoined and restrained from violating

the provisions of Title I of ERISA, 29 U.S.C. § 1001 et seq.

        2.      Within 120 days of the entry of this Judgment, in accordance with ERISA and the

Plan’s governing documents, Defendants Scott and RCS will terminate the plan and cause to be

distributed to the plan participants all the Plan’s assets.

        3.      Defendants Scott and RCS shall take appropriate actions to locate each such

participant or beneficiary of the Plan to notify each such participant or beneficiary of his/her

entitlement to a restoration of losses. Appropriate actions include complying with the guidance in

EBSA Field Assistance Bulletin 2021-01, Temporary Enforcement Policy Regarding the

Participation of Terminating Defined Contribution Plans in the PBGC Missing Participants

Program (Jan. 12, 2021) available at https://www.dol.gov/agencies/ebsa/employers-and-

advisers/guidance/field-assistance-bulletins/2021-01; EBSA Compliance Assistance Release

2021-01, Terminated Vested Participants Project Defined Benefit Pension Plans (Jan. 12, 2021)

available at https://www.dol.gov/agencies/ebsa/employers-and-advisers/plan-administration-and-



                                                   2
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compliance/retirement/missing-participants-guidance/compliance-assistance-release-2021-01;

and EBSA Missing Participants – Best Practices for Pension Plans (Jan. 12, 2021) available at

https://www.dol.gov/agencies/ebsa/employers-and-advisers/plan-administration-and-

compliance/retirement/missing-participants-guidance/best-practices-for-pension-plans.

       4.      Within 30 days from the date that the Plan is fully terminated, Defendants Scott

and RCS shall provide satisfactory proof of such termination, including proof of issuance of the

Plan’s participant distributions, to the EBSA Regional Director.

       5.      Defendant Scott agrees that he will notify the EBSA Regional Director within

seven days of any change of his name, residence, telephone number, mailing address or

employment until the Plan is fully terminated as identified in paragraphs 2 through 5 above.

       6.      Defendants Scott and RCS shall be permanently enjoined from serving or acting

as fiduciaries or service providers with respect to employee benefit plans subject to ERISA,

except to the extent necessary for Defendant Scott to terminate the Plan and distribute the Plan’s

assets as identified in paragraphs 2 through 5 above.

       7.      Defendants Scott and RCS shall be and hereby are assessed a total penalty under

ERISA § 502(l), 29 U.S.C. § 1132(l), of $893.35. For purposes of calculating the penalty, the

parties agree that the applicable recovery amount is $4,466.78.

                a.   Defendants hereby waive the notice of assessment and service requirements

                     of 29 C.F.R. § 2570.83.

                b. Defendants agree to pay the $893.35 penalty assessed by the U.S.

                     Department of Labor pursuant to ERISA §502(l), 29 U.S.C. §1132(l) within

                     30 days of the entry of this Judgment. Defendants shall pay the penalty owed

                     pursuant to paragraph 8 by remitting a check or money order payable to the



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                   United States Department of Labor. The check should be mailed to the

                   following address:

                           Standard (Regular U.S. Mail)
                           ERISA Civil Penalty
                           P.O. Box 6200-36, Portland, OR 97228-6200

                           Express or Commercial Overnight Mail
                           U.S. Bank
                           Attn: ERISA Civil Penalty #6200-36
                           17650 NE Sandy Blvd., PD-OR-C1GL, Portland, OR 97230

                   The check or money order referenced in this paragraph shall reference EBSA

                   Case No. 50-034783.

       8.      Nothing in this Consent Order and Judgment is binding on any government

agency other than the United States Department of Labor, Employee Benefits Security

Administration.

       9.      Each party agrees to bear his or its own attorneys’ fees, costs and other expenses

incurred by such party in connection with any stage of this proceeding to date including, but not

limited to, attorneys’ fees which may be available under the Equal Access to Justice Act, as

amended.

       10.     The Court shall maintain jurisdiction over this matter only for purposes of

enforcing this Consent Order and Judgment.



       SO ORDERED.

Dated: September 8, 2021                             /s/ Martha M Pacold
                                                     United States District Judge


The parties hereby consent to the entry of this consent order and judgment.




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FOR THE SECRETARY OF LABOR:                  FOR RCS & ASSOCIATES, LTD:

SEEMA NANDA                                  s/ Rodney C. Scott
Solicitor of Labor
                                             By:    Rodney Scott
CHRISTINE Z. HERI
Regional Solicitor                           Title: President

s/ Arsalan Nayani
ARSALAN NAYANI                               FOR RCS & ASSOCIATES, LTD PLAN:
Attorney                                     s/ Rodney C. Scott
Office of the Solicitor
U.S. Department of Labor                     By:    Rodney Scott
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Eighth Floor                                 Title: Trustee
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FOR RODNEY C. SCOTT:                         s/ James O. Stola
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